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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-cv-01937-PAB-BNB

  AGRIFIRST LENDING, LLC, as assignee of
  FEDERAL DEPOSIT INSURANCE CORPORATION
  AS RECEIVER FOR NEW FRONTIER BANK,
  Plaintiff,

  v.

  PIONEER FARMS, LLC., a Colorado limited liability company,
  FEIZHU FARMS, LLC, a Colorado limited liability company,
  RICHARD CARLSON, an individual,
  H. WAYNE RICE, an individual,
  and RONALD LYNN BROCK, an individual,
  Defendants,

  v.

  CB LAND COMPANY, LLC, a Colorado limited liability company,
  Third-Party Defendant.

  ______________________________________________________________________________

                       REPLY MEMORANDUM IN SUPPORT OF
            DEFENDANTS' JOINT MOTION TO REMAND TO STATE COURT
  ______________________________________________________________________________

             This brief Replies to Agrifirst Lending, LLC’s Response to Defendants’ Joint

  Motion to Remand to State Court, CM/ECF docket number 43, and supports Defendants’

  Joint Motion to Remand to State Court, CM/ECF docket number 21 and Defendants’

  Legal Memorandum in Support, CM/ECF docket number 22.

             Defendants Pioneer Farms, LLC ("Pioneer Farms"), Richard Carlson ("Carlson"), H.

  Wayne Rice ("Rice"), Feizhu Farms, LLC ("Feizhu Farms"), and CB Land Company, LLC, ("CB




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  Land"), Third-Party Defendant, (collectively "Defendants"), by and through their counsel of

  record, submit the following Reply in Support of their Joint Motion to Remand to State Court:

                                              SUMMARY

             The question raised by Defendants’ Joint Motion to Remand is whether federal

  jurisdiction still exists under 12 U.S.C. § 1819(b)(2)(B) – the sole basis for removal - and

  whether federal jurisdiction was properly invoked thereunder by FDIC-R.              A finding in

  Defendants’ favor on either issue necessitates remand. Agrifirst Lending, LLC (“Agrifirst”) was

  substituted as the plaintiff-in-interest on October 19, 2009, and FDIC-R is no longer a party.

             In order to meet its burden and avoid remand, Agrifirst must demonstrate that it is

  entitled to remain in federal court under 12 U.S.C. § 1819(b)(2)(B) and that FDIC-R’s removal

  was timely.       Agrifirst does not have authority to maintain jurisdiction under 12 U.S.C.

  §    1819(b)(2)(B).       Even    if   Agrifirst   could   maintain   FDIC-R’s    removal    under

  12 U.S.C. § 1819(b), FDIC-R’s removal was untimely because FDIC-R did not remove within

  ninety days of becoming involved with this matter or within ninety days of requesting

  substitution as a party. Because the basis for FDIC-R’s removal no longer exists and because

  such removal was untimely, this matter must be remanded to the District Court of Baca County,

  Colorado.

  A.         Agrifirst Cannot Maintain Federal Jurisdiction under 12 U.S.C. § 1819(b).

             Agrifirst purchased the Pioneer Farms’ Loans, the primary subject of this case, from

  FDIC-R leaving FDIC-R with no remaining interest in the Loans. Thereafter, Agrifirst sought

  and was granted substitution as the plaintiff herein and FDIC-R was dismissed from this case.

  Importantly, the only basis FDIC-R asserted for removal was 12 U.S.C. § 1819(b)(2)(B), which



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  permits FDIC-R to remove any action to which it is party. Agrifirst, as assignee of FDIC-R,

  would not be entitled to remove a case under 12 U.S.C. § 1819(b)(2)(B), nor can Agrifirst

  maintain jurisdiction under 12 U.S.C. § 1819(b)(2)(B). 1 Agrifirst’s arguments concerning the

  applicability of the D’Oench Duhme doctrine are irrelevant to whether jurisdiction can be

  maintained in federal court under 12 U.S.C. § 1819(b)(2)(B). CIT, Inc. v. 170 Willow Street

  Assocs., 1997 WL 528163, at *5 (S.D.N.Y. Aug. 26, 1997). No basis for federal jurisdiction

  exists under 12 U.S.C. § 1819(b)(2)(B) and this case must be remanded to state court for further

  proceedings.

             Section 1819(b)(2)(B) of Title 12 requires the presence of the FDIC as a party. See New

  Rock Assets Partners, L.P. v. Preferred Entity Advancements, 101 F.3d 1492, 1499 (3d Cir.

  1996) (interpreting parallel language from the removal statute for the Resolution Trust

  Corporation).      Federal jurisdiction under Section 1819(b)(2)(B) no longer applies once the

  FDIC-R has disposed of the failed bank's assets. New Rock, 101 F.3d at 1500-01. The court in

  Mill Investments, Inc. v. Brooks Woolen Co., Inc., addressed this very issue: “It is clear to the

  Court that [] policy is not advanced in any significant way by retaining federal jurisdiction once

  the failed bank's assets have been assigned to a private company.” 797 F. Supp. 49, 53-54 (D.

  Me. 1992) (cited with approval in New Rock).

             Agrifirst cites FSLIC v. Griffin, 935 F.2d 691 (5th Cir. 1991) in support of its position

  that it can maintain federal jurisdiction under Section 1819(b)(2)(B). However, Griffin was

  rejected by New Rock Assets Partners, L.P. v. Preferred Entity Advancements, 101 F.3d 1492,
  1
   The Loan Sale Agreement between FDIC-R and Agrifirst addresses this very issue, and does not permit Agrifirst to
  use any FDIC statutory right or power except the statute of limitations set forth in 12 U.S.C. § 1821(d)(14). Loan
  Sale Agreement, Section 5.18. In fact, Agrifirst is specifically not assigned powers under 12 U.S.C. § 1823(e) (the
  codification of the D’Oench Duhme doctrine). Id. Thus, any argument by Agrifirst that federal question jurisdiction
  exists under 12 U.S.C. § 1823(e) and the D’Oench Duhme doctrine is inapplicable.


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  1499 (3d Cir. 1996) in favor of Mill Investments, Inc. v. Brooks Woolen Co., Inc., 797 F. Supp.

  49, 53-54 (D. Me. 1992). Moreover, Griffin is inapposite to the present case. The defendant in

  Griffin argued that the state question proviso of the removal statute served as a basis to remand.

  935 F.2d at 695. The court disagreed because certain “non-proviso” parties remained in the suit.

  Id. These arguments, which served as the primary basis for the Fifth Circuit’s ruling, are not

  applicable to this case. Accordingly, Griffin’s conclusion is inapposite.

             On point are the cases of Brae Asset Fund, L.P. v. Dion, 929 F. Supp. 29 (D. Mass.

  1996); Firstsouth, F.A. v. LaSalle Nat’l Bank, 1991 WL 188649 (N.D. Ill. Sept. 11, 1991); and

  CIT, Inc. v. 170 Willow Street Assocs., 1997 WL 528163 (S.D.N.Y. Aug. 26, 1997). In Brae

  Asset Fund, L.P. v. Dion, 929 F. Supp. 29 (D. Mass. 1996), the court analyzed a situation

  wherein a plaintiff sued in state court after purchasing notes from the FDIC but then tried to

  remove the case to federal court. The court held that the assignee did not acquire the FDIC’s

  special right to remove the case. Id. at 31.

             In support of its conclusion, the court distinguished Griffin: “Cases from other

  jurisdictions have been unwilling to recognize the right of an FDIC assignee to avoid remand

  once the FDIC is no longer a party to the federal case.” The assignee purchased economic rights

  from the FDIC, not “the right to conduct litigation in the federal courts.” Id.; see also Estate of

  G.R. Rains v. Dinges, 769 F. Supp. 353, 354 (D. Kan. 1991) (finding that once claims against

  FDIC were dismissed, “there remains no basis for federal question jurisdiction under 12 U.S.C.

  § 1819,” and the court lacked subject matter jurisdiction).

             The court in Firstsouth, F.A. v. LaSalle Nat’l Bank, 1991 WL 188649 (N.D. Ill. Sept. 11,

  1991) addressed the very situation before this Court. In Firstsouth, the FDIC was substituted



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  into the position of the mortgagee in a mortgage foreclosure action and subsequently removed

  the case to federal court. Thereafter, the FDIC sold the mortgage to a private party. The court

  stated that it lacked subject matter jurisdiction once the FDIC had been eliminated as mortgagee.

  Therefore, the court was required to remand the case back to state court. Id. at *1.

             In CIT, Inc. v. 170 Willow Street Assocs., 1997 WL 528163 (S.D.N.Y. Aug. 26, 1997),

  the court also addressed the issue of whether an assignee of the FDIC could remain in federal

  court under § 1819(b)(2) after the FDIC was no longer a party. The court analyzed a number of

  decisions, including Griffin, New Rock, and Mill Investments. Id. at *5. The court rejected

  Griffin’s reasoning and found that “the D’Oench Duhme doctrine has no relevance” to the issue

  of whether an assignee may remain in federal court after the FDIC is no longer a party. Id.

  Citing New Rock, the court stated that “§ 1819 does not, by its terms, mandate that federal

  district courts have jurisdiction over cases where the FDIC has divested itself of any interest in

  the property at issue.” Id. at *6. Relying on New Rock, the court held that Section 1819 alone

  cannot result in federal jurisdiction over an assignee’s claims. Id.

             FDIC-R is no longer a party to this case and its only basis for removal, 12 U.S.C.

  § 1819(b)(2)(B), is no longer applicable. Because the only basis for removal no longer exists,

  this case must be remanded to state court.

  B.         Agrifirst Cannot Assert Any Other Basis for Removal at this Late
             Stage and Fails To Do So.

             To the extent Agrifirst argues that the D’Oench Duhme doctrine and 12 U.S.C. § 1823(e)

  give rise to a different basis for federal jurisdiction other than the sole basis for removal asserted

  by FDIC-R in its Notice of Removal, Agrifirst’s arguments are erroneous and inapplicable.

  Federal question jurisdiction arises “only when the plaintiff’s statement of his own cause of


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  action shows that it is based upon [federal law].” Louisville & Nashville R.R. Co. v. Mottley, 211

  U.S. 149, 152 (1908) (emphasis added). In other words, “federal jurisdiction based on a federal

  question must appear from a plaintiff’s ‘well-pleaded complaint’” and “anticipation . . . of a

  federal defense, where the plaintiff’s basic cause of action is grounded only in state law, will not

  suffice to establish original federal jurisdiction.” Chandler v. O’Bryan, 445 F.2d 1045, 1055

  (10th Cir. 1971); see also Thurston Motor Lines, Inc. v. Jordan K. Rand, Ltd., 460 U.S. 533, 535

  (1983) (“we have long ago settled that it is the character of the action and not the defense which

  determines whether there is federal question jurisdiction”); Madsen v. Prudential Fed. Sav. &

  Loan Ass’n, 635 F.2d 797, 800-01 (10th Cir. 1980) (“It is beyond argument that a defense

  predicated upon federal law is not enough by itself to confer federal jurisdiction, even though the

  defense is certain to arise . . . ”) (emphasis added).

             New Frontier Bank’s original complaint, as now held by Agrifirst, fails to state any cause

  of action grounded in federal law. Agrifirst cannot now assert the presence of federal question

  jurisdiction based on Defendants’ affirmative defenses to this foreclosure action or Agrifirst’s

  defenses to Defendants’ counterclaims. Agrifirst’s reliance on Perini Corp. v. FDIC, 754 F.

  Supp. 235, 238 (D. Mass. 1991) on this issue is misplaced because Perini addressed whether

  remand was proper based on the state action exception to the FDIC’s right to federal jurisdiction

  under 12 U.S.C. § 1819(b)(2), which is not at issue here.

             Even if Agrifirst was correct in asserting that its purported defenses give rise to federal

  question jurisdiction, it is too late to assert such grounds for this Court to have subject matter

  jurisdiction. See Sullivan v. BNSF Railway Co., 447 F. Supp. 2d 1092, 1099-1100 (D. Ariz.

  2006) and Hinojosa v. Perez, 214 F. Supp. 2d 703, 707 (S.D. Tex. 2002) (“It would be a



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  substantial injustice to allow [parties] to remove a case on one ground and then, when faced with

  a serious challenge to that ground, attempt to justify removal on an entirely different, and

  untimely, ground.”). If Agrifirst or its predecessors had alternative grounds for removal, those

  grounds should have been asserted at the time of removal.

             Agrifirst cannot assert new grounds for removal and its arguments that it might be

  entitled to defenses under the D’Oench Duhme doctrine and 12 U.S.C. § 1823(e) do not

  transform this case into one involving a federal question. Even if Agrifirst’s purported defenses

  are valid, which Defendants reject, those defenses can be addressed ably by the District Court of

  Baca County, Colorado. See CIT, Inc. v. 170 Willow Street Assocs., 1997 WL 528163, at *5

  (S.D.N.Y. Aug. 26, 1997) (citing New Rock Assets Partners, L.P. v. Preferred Entity

  Advancements, 101 F.3d 1492, 1499 (3d Cir. 1996) and Mill Investments, Inc. v. Brooks Woolen

  Co., Inc., 797 F. Supp. 49, 53-54 (D. Me. 1992)).

  C.         Agrifirst Cannot Demonstrate FDIC-R’s Timely Removal.

             Agrifirst cites Costin Engineering Consultants, Inc. v. Latham, 905 F. Supp. 861 (D.

  Colo. 1995) for the proposition that the 90-day removal period under 12 U.S.C. § 1819(b)(2)(B)

  begins to run from the date the FDIC is formally substituted as a party. However, the question in

  Costin was whether the plaintiff, by withholding service of process on the FDIC, could “diminish

  or eliminate the FDIC’s removal right . . .” under § 1819(b)(2)(B), not whether the FDIC

  diminished or waived its own removal rights. Id. In the case at bar, Defendants did nothing to

  prevent FDIC-R from removing the case to federal court once it was appointed as receiver for

  New Frontier Bank. As is clearly set forth in Wissel, the removal period under § 1819 began to

  run from the time the FDIC was appointed as receiver for New Frontier Bank. The Wissel court



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  held that interpreting § 1819 “to require ‘formal’ substitution to trigger the ninety day limitations

  period . . . is inconsistent with general Federal removal jurisprudence and creates the potential

  for delay and inefficient resolution of disputes, as well as forum shopping.” 881 F. Supp. at 126.

             Moreover, FDIC-R’s active presence in this litigation until it divested its interests in the

  Loans worked a waiver of FDIC-R’s removal rights. See Wissel, 881 F.Supp. at 124; see also

  Dalton v. F.D.I.C., 987 F.2d 1216, 1221-22 (5th Cir. 1993) (in which the court closely

  scrutinized the timeliness of the FDIC's removal given its active and ongoing participation in

  state court proceedings); Heafitz v. Interfirst Bank of Dallas, 711 F. Supp. 92, 96 (S.D.N.Y.

  1989) (finding that active litigation in state court can act as a waiver of FDIC's removal right).

             FDIC-R's Notice of Removal was untimely under 12 U.S.C. § 1819(b)(2)(B) because in

  this case, the ninety-day removal period should have commenced when FDIC became the

  Receiver for New Frontier Bank. Moreover, FDIC-R's continual presence and participation in

  the state court proceedings has operated as a waiver of FDIC-R's right to remove this case.

                                              CONCLUSION

             Agrifirst is not entitled to maintain this action in federal court because the only basis for

  removal was FDIC-R's interest as a party. That basis for federal jurisdiction no longer exists and

  Agrifirst is not entitled to maintain jurisdiction under 12 U.S.C. § 1819(b)(2)(B). Moreover,

  FDIC-R was required to remove this action at an earlier time due to its knowledge and active

  participation in the state court action. Accordingly, Defendants Pioneer Farms, Rice, Carlson,

  Feizhu Farms and Third-Party Defendant CB Land, respectfully request this Court enter its order

  remanding these proceedings to the District Court of Baca County, Colorado.

             Respectfully submitted this 10th day of November, 2009.



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                                     CERTIFICATE OF SERVICE

   It is hereby certified that a copy of this original document (REPLY MEMORANDUM IN
   SUPPORT OF DEFENDANTS' JOINT MOTION TO REMAND TO STATE COURT) was
   filed with the Court via the Case Management/Electronic Court Filing system on this 10th day of
   November, 2009, and notice thereof was served in accordance therewith via electronic mail, to:

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